Case 4:09-cv-05796-CW Document 67-1 Filed 10/19/11 Page 1 of 10

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_ We Unites States Distact Cour
For Te NorrernDistrier Or CALORNIA

 

 

“ToppAstkerand Danny lRoxeit, Case No.009- 57% 0W
VS. Weposed Second Amended
Complaintand Demand For
EpmunrG, Browns, Matiew (uae Jug Weal, \Secking Damages
KoperekQ Hieeman, Jeanne Whoprie, and Injundlive Relief pes
Joe Melee, Kietazp KirKLANp, Y2uscsi9es| |

RogeerHorei Francisco JAcauex,
Gree lewis, Williay Bartow, ®.L,dounsonl,

DW, Beapuryd. McKinney, RoeerMarauez,
R Rice, Joan Harrison, B: Morntan GH Wise,

A Herenanpez, Roeeer owe, Susan hieter_

Rogeartt ARMON, Hess CheeineHam >

D.dSwitr, and 3. tucker, inclusie,
Diendaats,

 

 

 

 
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This achvon is brow pursuant Yo HZUSE8IASS to redress the der vations under
color slate law, of rig hts secured by the. Constifon of the United Stakes, Jurisdiction
19 pursuaitto 28US C88 15314 \343, Mainhtts seck damages, as oe! las declaratory
ralick per: 28uSc 88 2201¢ 2202] |

2) Venue 1S proper pursuantto 28USC§ 139/6)@) because the alleged tnlawhul acts
and ommisions occurred, pravari ly within the Northen Distnet OF Cal, fornia, in the
Courily of DelNorlz. Platts maquestatn alloy juayon alelaims.

SYla rit Ris lodd Ashikerand, Danny texell, are both serving tarm-te-life senlences
inthe custedyotthe Calif. Dept of Corrections Fehabilitahon(2.D.¢. A They have been, and
werdat allmes mentioned herein combined in Whear Bay Stale Visors 9.H.U, unit’
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customs and pradiices, adhered fo by Phe 0.0.0.8. [ice he is personally aware ot ara
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_ jance Ane poli Cy, oreusion underwiich unconsiitiional practices oC;

{eg,,tev ewig B eH) garcia Qrants; Per. article, sech8(o) oF the Calif. Const,and
rescinding the. parole Grants gwen te inmales win Marry years cFinachve gang -
- Slats, uri said inmates dene “LSce\oclovs paras 262% 40, xe? delodickin o ‘)
Sefendar Matthew Cal, is the Secrelary oFICDCR] per, Cal, nal Code $5054,
Seerdlary Cate isthehead ever], responsible Tor the SUPEIVISION, manager and
corttiel et thestate prisons, and. for the care, custocky jHeatment, ., ofall persons
conned therein, See Cale is responsinie Tor promulgating and reseincting the rules

andteg ulahons forthe admin dirdhior ot wr grvorel ges Cal Pen Code 85058)
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policies andcusioms underwhiehthe unconsittilional, pov Cies customs : pradices cenusTed}
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Each ot them was personallyrespons ibig orcreating and Jor allosaireg Sng corilinuance.
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and, PW, Bradloury [pesr-Stu AsscaateWarden!, aralltimes mer orediverin poere ach}
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reser, cach oF remucrelegally responsible rearing ow Nreir assigned dues,
and adhering to al\applicable Laws ules and regulations _ Gach ot Shem cane
they personal lyinvestigated Plainttts garg-aFfil\dlion,and sls issues and each

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Aheir FaureXo Follow epar- policies; and. | or, Mg golicies eustoms, and practices
They did Tdlow are unconsiituhional as speahied inthe complawi below.

4 Pater dant A .Mernandez, is a former CDCR: correctionaldtHear whe was ass’ gned
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IProCNSsS ing / Teviewing oF PES SU inmales Spproved inmate. te inmate Legal Gorrespon d-
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Const .ridhls vialheracts andomissions m2: approy ed\egal correspondence violations. | -

Ad Pelendant Robert Doyle, i s curred BPH] chairman: Defendants Susan Fisher, RobertHarnn,
Kallis Gil lingham Penns Smit and Seven lucker are each eurre rifandtermerePi]
eommissianers. Atalltimes mentioned hein cach of them were \woally resporrsible
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and. lermandez, arecachisuadindividually andantnar oth cial capacity [for damages and
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lundercolor of sidic law atal\ Nimes relevant vets complaint Plaintilfs axe iaformed.
and believe rat cach She kinds oF conduct complained oFharin are the
subyectot rumesous prisoner complaints, whicharg reviewed by the Governors
Secretary [Piestors, Wardens, andlBP W)staif, Additionally Jhisconducthasbeen

 

 

   

   

 

 
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Vawiitts many complaints SMUMNSS and suits] Defendants have beer on
nakec Aika condtiuiionalidlalions and refusers corredtihe provlems,
andiniadt condenginest continuing Viel ations, —

— ZIETvTRODUCTION

4) This jsaclaine for damages ard injun tive relietbroughtunder 42 LISCSI983 against
AheGovermor CDCR and BPH ohicials, tor vislalions CF PlairdhitS tattisto: Tree speach, and
assacidtion Teedany hom inaimnaling henpdves and cihes Freadon Wom ior lure
andcther ctulandunusval purisrmenly Nalttto due process [both preeaduraland
aubstantive], equal protec 011, and. cx post Fadlo proledtion;as proteciad ny the
Ash sth, Sth, and Mh Amendments etc U's Ronatitition|and United. Nations
1924 Conwy extion gainst lorluse andother cr uelinuaan ordanrading \veatinent)
16>Thigadiionarises Frompdiendants policies, cuslems, practioes and lor acts
landomisdions re: Plains [23-244] years SSH continemestand relied asm
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wrongly % dinedAnamin su, andissucd multi ~yearpascle denials, onthe basis
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iano treatm for reve ian (23-24) years, in condifions that eerie usly
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and Anarely Subject Yremacucsland family {te sevious riskef ralalialory danger

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Customs, pol icles and practi \oas ,rasU ae situdional Fi rat Amendment”

 

 

 
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Facts Fer paninéle PLantiees Arete ay, TivedaL,
An Tape rye Retention Ln We P.BSP- SKU,

(a) General Facts re: Viclations of Agali cablelaww, Rules, and Reaqulations

tps didlailed below, Plaintits have been aritrarilyandN\egally, confined in[sHial For
MORE thar (23-24 years; suoh indefinite sHu- eortinement is a continuing violation of
Maeic prétectad 3. Consiittifional rights as Tollows,

48yThe CHOR classihed Maker agan AB.mentber it 1988, lnaseckon unralialde unsulb-
darth dled alleg aNions madely conidertial wmaiz informants—ie Prison sa\¥,
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Vor was causctor saneétions; and) hewas-everlbeing wnveshgaled, Meveeawedne
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| 2d.Ash\kers been in(snjsinee WG, ard bee noni indeAinite Suu)sTalus at PasP-sinec
Kanuary 1982, baseclon CPCs arb’ Wary Application ot poliey@ve, SHU ducte gang abel.
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and Yelend ants See ae Eandiori)eommssi 1ONeTS expect hime debrief
his Way out oF er) , prior te a chancete parole iscedctails, paras 24 andii-1 4g]
| 2b The Cper classified Wexall asan AB member in 1989, based on unreliable sunsub
Slarifialed allegali ons made by conhdertial inmalg informants -te prison sta This
intial classiWicationcame about without any prior nolieg thal @a gang class Nealion
WAS CALS TOY SANATONS ; sand) thathe was averoei Rg investi galled, We reedivedine

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He has always mawitsinad ye ts rect gang s¥filisted nor party tomy legal, gang- activity

22) Vroxellhag heen sub jech toGHU) since 1985, andon indefinite PasP-sHuconhizement
since December1199, based on ares arbilvag application oF pelieies re: SHu due bo gang: label,
Defend arts have. repeatedly tald ri his only way oul of [Stills pacic die or debiek, and
Defendants’ Bown, and [ePHlacmmissionaz’ expect imide debrierhis way out of [sHu),
prior te a chance tv pacle [ser dalails, at pas"40137, oi-143, and 150-16, below]

2d Raintiffy received subsequeril views oF their gang- Slalus in \945, 200), 2002, 9903,
|and 2007. Whe 1995 - 2003 reviews were conducted without ater noHee or opportunity
tol heard Vhey wee given. prior ndvice and Oppo rt uriity to lee heard, fordheir 2007
views whesupen defendants revalidated them agamn showevel plawitiFts ‘ace
infermed,and Yherby allege thal none oF their subsequent reviews [1995-2007],
we inclusive cf subdantive invesligalions Leper delendanl Me Graths Testimony,
and Court Findings of fact in Litay.Cale USde-N,b, Aal*@00-0905 8, Order oF
Sopt-30,2009, at pp'840-42]

o4fyPlaintiy’ challenge the gang-valid ations via several @per-Go2 Appeals; all oF
whieh defendants ,or their agorts, deried, based on their unconstitahoral policies, and.
praclices abissue .Plantitis‘ate irtformed and thelely allege, that nore of their 602 apprals|
ecewed subslantVe. innestigalary reviews fra, “WeGraths Festimony afdin he
Lia Oder pe HO-H2~ as more Fully Azimledin below pals Uy8¥, and 97-% 133]

2 Between 1985 and 2080, defendaris, and their agerds, wor mandated te provide
Mearingtul. reviews FF plaintitts’ Suu) status every 120/\¢0 days/ per Zeussairit and,
Madde Qour? rulings | Thisis because plants’ have a Viberty inlaésT ir not being,
held Bru) kayjonal! months, alaseriy specific excedtigns. Plaintiffs’ are ieformed,
andtheseby allege Anat their i2o/\%o day eviews wer without substantive due
pocess, and thus, meaningless [Ld Lica Order, at o442:8-25]. |
2a Ae slated above [es gaces"20-22,and paras tA], and morally datsiled bodes,
Plaintifs’ only alonug hw celease-om SaLandtvle Found suitahle Gr pacle |is by

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paras 8-140] in orderle aneree Shem tte proN iding staliwithid amaging itor
ation about themacves andethers| PlendantsSchuear ZonengecandlBrH] use
Freir power over parole tor We samecoerveive perp ose |

2) Bclesoen Odiaber QeSand Juncl9 CDR did rsh rane any Leaally promulgated
rulesorregulations renndchinile SHU-eortinemertl oravileriatermease \hadiom,
Ondune25 \A08,.A Sacramento Superior Cou, sruleddnak CHORS~ gang-validdtion and
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30) Inresponse ber Detendarils have nant potaledseveralwules Wiothne Cals,
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| rules andwalaled, poli cies ausioms andy vactices|summarizedinabave pass ane 4
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areunconsiitional violations oF Plaintifis vig\tis, as presertted below, :

aiPefendarits Sehwarzencaaes Cate, Wickman, Wsodford MeGratn, Kirkland Hove, |
Jacquez, Adams Johnson, Bradbury Mekiorey Marquez, Rice, Harrison \horilonand,

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utlonal pradiices policies, and cusioms have oceurred and caused damaorand
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the Go2 Appeals preazss] oe |
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wit om Dek andants are not shiets adequately protect From aucnarm|, |
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lous informants inordertosucee Sot ully ddbrict Vneirwas outck siiuland hae

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Against torte] las Advanledandsu proriedloy paras 26 24 and Aout | .
(9) That their policy ;Cusiom, and practice oF making PRSP-SHU, progressively
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providing slafrusith damaging inforaiion about hemselves,and Anerslindud:
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and Wcker, alse personally applicdine unconstitthional p olay (),custems,and,
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